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                                                                             The Honorable John C. Coughenour
 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT TACOMA
 8
     DANIEL MITCHELL, et al.,                                       NO. 3:19-cv-05106-JCC
 9
                                Plaintiffs,                         JOINT STATUS REPORT
10
              v.
11
     CHUCK ATKINS, et al.,
12
                                Defendants,
13
     SAFE SCHOOLS SAFE COMMUNITIES,
14
                                Intervenor-Defendant.
15

16            On December 13, 2022, the parties met and conferred in compliance with this Court’s

17   Minute Order dated December 7, 2022. Dkt. #134. The parties were able to reach agreement on a

18   schedule1 for additional evidentiary development and briefing on Plaintiffs’ Second Amendment

19   claim only. The parties propose the following next steps and deadlines:

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                   Disclosure of expert testimony under FRCP 26(a)(2)               September 1, 2023
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                   All dispositive motions must be filed by                         October 2, 2023
22
              The parties do not intend to change any information in the Joint Status Report filed with the
23

24            1
                 The parties agree on a schedule, but hold differing positions on whether additional expert testimony is
     required (or helpful). Plaintiffs believe that no additional expert testimony or evidence is required (or helpful) in
25   determining whether the restriction at issue is constitutional. Defendants disagree. Defendants moved the Ninth
     Circuit to remand this case for the purpose of developing new evidence under New York State Rifle & Pistol Ass’n.
26   v. Bruen, 142 S. Ct. 2111 (2022). The Ninth Circuit granted the motion—which Plaintiffs did not oppose.


     JOINT STATUS REPORT                                        1                   ATTORNEY GENERAL OF WASHINGTON
                                                                                         Complex Litigation Division
     NO. 3:19-cv-05106-JCC                                                               800 Fifth Avenue, Suite 2000
                                                                                           Seattle, WA 98104-3188
                                                                                                (206) 464-7744
            Case 3:19-cv-05106-JCC Document 140 Filed 12/19/22 Page 2 of 4




 1   Court on June 20, 2019. Dkt. #4 9. In the event that trial in this matter is required, the parties request

 2   a trial date after March 1, 2024, and provide the following unavailable dates: September 1–30, 2024.

 3           DATED this 19th day of December 2022.

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 5                                               Attorney General

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                                                 /s Jeffrey T. Even
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                                                 Deputy Solicitor General
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           Case 3:19-cv-05106-JCC Document 140 Filed 12/19/22 Page 3 of 4




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 7                                  CITY OF SPOKANE

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            Case 3:19-cv-05106-JCC Document 140 Filed 12/19/22 Page 4 of 4




 1                                 DECLARATION OF SERVICE

 2          I hereby declare that on this day I caused the foregoing document to be electronically

 3   filed with the Clerk of the Court using the Court’s CM/ECF System which will serve a copy of

 4   this document upon all counsel of record.

 5          DATED this 19th day of December 2022, at Olympia, Washington.

 6
                                                  /s Jeffrey T. Even
 7                                                JEFFREY T. EVEN, WSBA #20367
                                                  Assistant Attorney General
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